Docusign Envelope ID: B6790911-CF87-4CE9-A273-AF4503961E12                   FTXCreditor (https://ftxcreditor.com)
                            Case 22-11068-JTD           Doc 27344    Filed 10/29/24 Page 1 of 4

      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF DELAWARE


       In re:                                                   Chapter 11
       FTX Trading Ltd. (d/b/a “FTX”)
                                                                    22-11068
       debtorentity                                             caseID
       Debtors                                                  (Jointly Administered)
                          TRANSFER OF CLAIM OTHER THAN FOR SECURITY


     A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
     hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of Bankruptcy
     Procedure of the transfer, other than for security, of the claim referenced in this evidence and notice

       Name of Transferor:                                      Name of Transferee:
                        me                                      Grand Teton C II, LLC
       Name and Current Address of Transferor:                  Name and Address where notices and payments
                                                                to transferee should be sent:
       Address:                                                 Address:
                                                                Grand Teton C II, LLC
                                                                Michael Bottjer


                                                                1509 Bent Ave.


                                                                Cheyenne, WY 82001,


                                                                claims@ftxcreditor.com



       Claim No./Schedule             Creditor Name             Amount                    Debtor

       Kroll Schedule                                           Described on Schedule F   FTX Trading Ltd.
                                                                                          (d/b/a “FTX”) (Case
                                      t                e                                  debtorentity
                                                                                          No. 22-11068)


       krollScheduleID
       Debtor Schedule F No:                                    Described on Schedule F    FTX Trading Ltd.
       01604740                                                                            (d/b/a “FTX”) (Case
       schedulefnumber                t                                                   debtorentity
                                                                                           No. 22-11068)

      Claim Number: 94685
       claimConfirmationNumber

                                                                                            Transfer Agreement
Docusign Envelope ID: B6790911-CF87-4CE9-A273-AF4503961E12
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      I declare under penalty of perjury that the information provided in this notice is true and correct to the
      best of my knowledge and belief.



     By:
     Transferee / Transferee’s Agent

      Date: 8/6/2024
            transferdate




                                                                                           Transfer Agreement
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                                                  Identity of Transferor

     Transferee has in its possession an Evidence of Transfer signed by the Transferor.

     To protect the identity of the Transferor, Transferee has not disclosed the Transferor’s name or address,
     and has not attached the signed Evidence of Transfer to this Notice of Transfer of Claim.

      Upon written request, Transferee is prepared to provide a copy of the signed Evidence of Transfer to the
      Bankruptcy Court, the Debtors, and appropriate professionals.




                                                                                           Transfer Agreement
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                                 EVIDENCE OF TRANSFER OF CLAIM

     TO: Clerk, United States Bankruptcy Court, Southern District of New York, for good and valuable consid-
     eration, the receipt and sufficiency of which are hereby acknowledged,                  me
     has unconditionally and irrevocably sold, transferred and assigned to Grand Teton C II, LLC, its
     successors and assigns, all right, title and interest in and to the claim(s) identified below, against FTX
     Trading LTD et al.

       Schedule F Claim #:                               01604740

                                                             schedulefnumber
       Claim Amount:                                         as detailed on Schedule F

      Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the Federal Rules of
      Bankruptcy Procedure, and stipulates that an order may be entered recognizing this Evidence of Transfer
      of Claim as an unconditional assignment and Buyer as the valid owner of the claim.

     You are hereby requested to make all future payments and distributions, and to give all notices and other
     communications in respect of the claim, to Buyer.


              8/6/2024
      Date:


       BUYER:
       Grand Teton C II, LLC




       Name: Michael Bottjer                                          Name:                e
       Email: claims@ftxcreditor.com                                  Email: t




                                                                                                Transfer Agreement
